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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA

         v.
                                                                CRIMINAL ACTION
 DAVID PADILLA                                                  NO. 96-606-3



PAPPERT, J.                                                           November 15, 2021
                                    MEMORANDUM
        David Padilla moves for early termination of his supervised release. The

Government opposes the Motion, and the Court denies it for the reasons that follow.

                                             I

        On March 17, 1997, a jury convicted Padilla of conspiracy, possession of cocaine

with intent to distribute, and carrying a firearm during the commission of a drug

trafficking offense. (ECF No. 81; J. Criminal Case at 1, ECF No. 117.) Padilla had two

prior federal convictions for cocaine-related offenses, one for distribution and another

for possession with intent to distribute. (Presentence Investigation Report ¶¶ 38–39.)

Because of Padilla’s prior convictions and the quantity of drugs involved, he was subject

to a mandatory minimum of life imprisonment followed by ten years of supervised

release for the drug offenses. See 21 U.S.C. § 841(b)(1)(A)(ii) (1994). He was also

subject to an additional five-year term of imprisonment for the firearms offense. 18

U.S.C. § 924(c) (1994). Judge Weiner sentenced him accordingly. (J. Criminal Case at

2–3.)

        In 2015, President Obama commuted Padilla’s sentence. (Executive Grant of

Clemency at 2, ECF No. 155.) In doing so, he left “intact and in effect . . . the term of


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supervised release imposed by the court.” (Id. at 1.) Padilla left prison and began his

supervised release term on December 23, 2015. (Gov. Resp. at 2, ECF No. 161).

                                              II

       The Court “may . . . terminate a term of supervised release and discharge the

defendant released at any time after the expiration of one year of supervised

release . . . if it is satisfied that such action is warranted by the conduct of the

defendant released and the interest of justice.” 18 U.S.C. § 3583(e)(1). In analyzing a

request for early termination of supervised release, the Court must consider the

following factors under 18 U.S.C. § 3553(a):

       (1) the nature and circumstances of the offense and the defendant’s history
           and characteristics;

       (2) the need to afford adequate deterrence to criminal conduct, protect the
           public from further crimes of the defendant, and provide him with
           needed educational or vocational training, medical care, or other
           correctional treatment in the most effective manner;

       (3) the kinds of sentence and sentencing range established for the
           defendant’s crimes;

       (4) pertinent policy statements issued by the United States Sentencing
           Commission;

       (5) the need to avoid unwarranted sentence disparities among defendants
           with similar records who have been found guilty of similar conduct; and

       (6) the need to provide restitution to any victims of the offense.

United States v. Melvin, 978 F.3d 49, 52 (3d Cir. 2020) (quoting United States v. Davies,

746 F. App'x 86, 89 (3d Cir. 2018)). As long as it indicates that it has considered the

§ 3353(a) factors, “a district court enjoys discretion to consider a wide range of

circumstances when determining whether to grant early termination.” Id. at 52

(quoting United States v. Emmett, 749 F.3d 817, 819 (9th Cir. 2014)). “[E]xceptional,

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extraordinary, new, or unforeseen circumstance[s]” are not a prerequisite for early

termination. Id. at 52. However, because sentences must be “sufficient, but not greater

than necessary” when first imposed, early termination is “‘[g]enerally’ . . . proper ‘only

when the sentencing judge is satisfied that new or unforeseen circumstances’ warrant

it.” Id. at 53 (quoting § 3553(a), then United States v. Davies, 746 F. App'x 86, 89 (3d

Cir. 2018)).

                                            III

       After considering the relevant factors, the Court concludes that early

termination is not appropriate. First, Padilla has not offered a persuasive justification

for early termination. He bases his request on his successful post-incarceration

employment, his volunteer work, his pursuit of education and professional training in

and out of prison, and his law-abiding conduct. But “basic compliance with the terms of

supervised release generally is not enough” to warrant its termination. United States v.

Damiano, No. 07-153, 2020 WL 7263183, at *2 (E.D. Pa. Dec. 10, 2020). Padilla has

shown no particular hardship caused by the conditions of his supervision, nor

unforeseen circumstances that would make continued supervision unjust. See United

States v. Lui, No. 10-437, 2021 WL 242476, at *3–4 (E.D. Pa. Jan. 22, 2021).

       Even if he had, Padilla’s history of criminal conduct while under court-ordered

supervision would militate against any early termination of his supervised release. In

April of 1987, Padilla was sentenced to a three-year suspended sentence and five years

of probation for distribution of cocaine. (Presentence Investigation Report ¶ 38.) Just

five months later, he was arrested for possession of cocaine with intent to distribute.

(Id. ¶ 39). He was then sentenced to five years imprisonment and six years of



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supervised release. Less than a year before the expiration of that term of supervised

release, Padilla was arrested on the charges that led to his current sentence. Both his

demonstrated willingness to flout judicially imposed supervision and his history of

doing so after a long period of apparent compliance make early termination unwise.

See 18 U.S.C. § 3553(a)(1),(2)(B)–(C).

      An appropriate Order follows.

                                                      BY THE COURT:


                                                      /s/ Gerald J. Pappert
                                                      GERALD J. PAPPERT, J.




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